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                                                                      Senior Judge Reggie B. Walton
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 7                         UNITED STATES DISTRICT COURT FOR THE
                                   DISTRICT OF COLUMBIA
 8
     UNITED STATES OF AMERICA,
 9                                                      NO. 1:21-cr-00389-RBW
                            Plaintiff,
10                                                      NOTICE OF APPEARANCE
            v.
11
     JOSEPH ELLIOTT ZLAB,
12
                            Defendant.
13
            YOU AND EACH OF YOU WILL PLEASE TAKE NOTICE that Cooper Offenbecher
14

15   and Allen, Hansen, Maybrown & Offenbecher, P.S., hereby appear in the above-entitled cause on

16   behalf of Defendant Joseph Elliott Zlab, and request that all further papers and pleadings herein,
17   except original process, be served upon the undersigned attorney at the address below stated.
18
            RESPECTFULLY SUBMITTED this 22nd day of June, 2021.
19

20                                                 /s/ Cooper Offenbecher
                                                   Cooper Offenbecher, WSBA #40690
21                                                 Attorney for Joseph E. Zlab
                                                   Allen, Hansen, Maybrown & Offenbecher, P.S.
22
                                                   600 University Street, Suite 3020
23                                                 Seattle, WA 98101
                                                   206-447-9681 – Phone
24                                                 206-447-0839 – Fax
                                                   cooper@ahmlawyers.com
25

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27

                                                                              Allen, Hansen, Maybrown &
                                                                                    Offenbecher, P.S.
      NOTICE OF APPEARANCE – 1                                               600 University Street, Suite 3020
                                                                                Seattle, Washington 98101
      (U.S. v. Zlab, No. 1:21-cr-00389-RBW)                                           (206) 447-9681
             Case 1:21-cr-00389-RBW Document 14 Filed 06/22/21 Page 2 of 2



 1                                 CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 22, 2021, I electronically filed the above document with
 3
     the Clerk of the Court using the CM/ECF system, which will send notification of such filing to
 4
     all attorneys of record.
 5
            DATED at Seattle, Washington this 22nd day of June, 2021.
 6

 7

 8                                        /s/ Sarah Conger
 9                                        Sarah Conger, Legal Assistant
                                          Allen, Hansen, Maybrown & Offenbecher, P.S.
10                                        600 University Street, Suite 3020
                                          Seattle, WA 98101
11                                        206-447-9681 – Phone
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                                                                           Allen, Hansen, Maybrown &
                                                                                 Offenbecher, P.S.
      NOTICE OF APPEARANCE – 2                                            600 University Street, Suite 3020
                                                                             Seattle, Washington 98101
      (U.S. v. Zlab, No. 1:21-cr-00389-RBW)                                        (206) 447-9681
